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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


 UNITED STATES OF AMERICA,                            CR 22–30–BU–DLC

              Plaintiff,

       vs.                                                   ORDER

 CHRISTOPHER LEE WYLIE,

              Defendant.


      Before the Court is United States Magistrate Judge Kathleen L. DeSoto’s

Findings & Recommendation Concerning Plea. (Doc. 11.) Because neither party

objected, they are not entitled to de novo review. 28 U.S.C. § 636(b)(1); United

States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003). Therefore, the Court

reviews the Findings and Recommendation for clear error. McDonnell Douglas

Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). Clear

error exists if the Court is left with a “definite and firm conviction that a mistake

has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir. 2000).

      Wylie is charged with one count of prohibited person in possession of

firearms and ammunition, in violation of 18 U.S.C. § 922(g)(3) (Count I), as set

forth in the Information. (Doc. 1.) Judge DeSoto recommends that this Court

accept Wylie’s guilty plea as to Count I after Wylie appeared before her pursuant

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to Federal Rule of Criminal Procedure 11. The Court finds no clear error in Judge

DeSoto’s Findings and Recommendation and adopts them in full, including the

recommendation to defer acceptance of the Plea Agreement until sentencing when

the Court will have reviewed the Plea Agreement and Presentence Investigation

Report. In light of the United States’ motion for preliminary order of forfeiture

(Doc. 12), the Court will address the issue of forfeiture by separate order.

      Accordingly, IT IS ORDERED that Judge DeSoto’s Findings and

Recommendation (Doc. 11) is ADOPTED in full.

      IT IS FURTHER ORDERED that Wylie is adjudged guilty as charged in

Count I of the Information.

      DATED this 13th day of October, 2022.




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